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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )           4:01CR3125
                        Plaintiff,          )
                                            )
     vs.                                    )           ORDER
                                            )
ERIC D. CASILLAS,                           )
                                            )
                  Defendant.                )


     IT IS ORDERED that a revocation hearing is set to commence at

12:30 p.m. on June 30, 2006 before the Hon. Richard G. Kopf, United

States District Judge, in Courtroom #1, United States Courthouse,

Lincoln, Nebraska.


     Dated:   May 12, 2006.


                             BY THE COURT

                             s/ David L. Piester

                            David L. Piester
                            United States Magistrate Judge
